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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   BRANDI R. HAMBLETON                               §
                                                     §
                  Plaintiff,                         §
                                                     §
   V.                                                §    Civil Action No. 4:18-CV-38-CVE-FHM
                                                     §
                                                     §
   EMINENT SPINE, LLC, a foreign                     §
   Limited liability company, and                    §
   RON OMAN, individually,                           §
                                                     §
                  Defendants.                        §


                JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        Plaintiff Brandi R. Hambleton and Defendants Eminent Spine, LLC and Ron Oman

   (collectively “the Parties”) file this stipulation and announce to the Court that they wish voluntarily

   to dismiss this action in its entirety with prejudice as to the refiling of the same, with each party

   bearing its own costs, and request that the Court enter the attached Order of Dismissal with

   Prejudice.




   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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   Respectfully submitted,


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   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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                                 CERTIFICATE OF SERVICE

           I hereby certify that the foregoing document has been forwarded to all counsel of record
   by electronic filing, on the 15th day of November, 2018, as follows:

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   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
